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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               :
                                       :
             v.                        :      Case No. 1:22-cr-00166-BAH
                                       :
JOHN GEORGE TODD III,                  :
                                       :
                                       :
                   Defendants.         :

                            MOTION TO WITHDRAW
      Comes now Ronna Holloman-Hughes, Assistant Federal Public Defender, and

respectfully submits the following in support of her Motion to Withdraw as Counsel.

The Federal Public Defender Office for the Western District of Missouri was

appointed to represent defendant on May 10, 2022. Defendant has had little contact

with undersigned counsel.

      On August 12, 2022, Mr. Todd, during a scheduling conference, stated to the

court that he would retain counsel. Undersigned counsel has attempted to contact

Mr. Todd via email and telephone on several occasions and has received no

response.

      Trial is scheduled for November 14, 2022, in the District of Columbia.

Undersigned counsel cannot properly prepare if Mr. Todd refuses to have contact

with her.

WHEREFORE, for the reason stated herein, the undersigned counsel respectfully

requests this Court grant her leave to withdraw as counsel in this cause of action.
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                                         Respectfully submitted,


                                         /s/ Ronna Holloman-Hughes
                                         Ronna Holloman-Hughes
                                         Federal Public Defender
                                         1000 Walnut, Suite 600
                                         Kansas City, Missouri 64106




                           CERTIFICATE OF SERVICE


      In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed.

R. Civ. P., it is hereby certified that the foregoing was electronically filed and that

notice of filing was sent to all parties of record pursuant to the Electronic Case Filing

System on this 14th day of September 2022.

                                         /s/ Ronna Holloman-Hughes
                                         Ronna Holloman-Hughes
